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              EXHIBIT A
     Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 2 of 29 Page ID #:21
                                                                                 FI LED
                                                                       SUPERIOR COURT OF CALIFORNIA
                                                                           COUNTY OF SAN BERNARDINO
                                                                            SAN BERNARDINO DISTRICT

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 6

 7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 8                                FOR THE COUNTY OF SAN BERNARDINO

 9

10     DALLAN ESCOBAR, individually and on            Case No.:
                                                                    C\V SB 2 1 2 3 0 6 6
       behalf of others similarly situated,
11                                                    CLASS ACTION COMPLAINT
                     Plaintiff,
12                                                    (1) Violation of California Labor Code§§ 510
              vs.                                         and 1198 (Unpaid Overtime);
13                                                    (2) Violation of California Labor Code
       AMAZON.COM, LLC, a Delaware                        §§ 1194, 1197, and 1197.1 (Unpaid
14     corporation, AMAZON LOGISTICS, INC.,               Minimum Wages);
       a Delaware corporation, and DOES 1             (3) Violation of California Labor Code
15     through 100, inclusive,                            §§ 226.7 and 512(a) (Unpaid Meal Period
                                                          Premiums);
16                   Defendants.                      (4) Violation of California Labor Code§ 226.7
                                                          (Unpaid Rest Period Premiums);
17                                                    (5) Violation of California Labor Code§§ 201
                                                          and 202 (Wages Not Timely Paid Upon
18                                                        Termination);
                                                      (6) Violation of California Labor Code §
19                                                        226(a) (Non-Compliant Wage Statements);
                                                      (7) Violation of California Labor Code § 2802
20                                                        (Reimbursement of Business Expenses)
                                                          and
21                                                    (8) Violation of California Business &
                                                          Professions Code §§ 17200, et seq.
22
                                                     Jury Trial Demanded
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                                           CLASS ACTION COMPLAINT
                        Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 3 of 29 Page ID #:22
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    AUG 11 2021
   SUPERIOR COURT
SAN BERNARDINO COUNTY




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 1            Plaintiff, individually and on behalf of all other members of the public similarly

 2     situated, alleges as follows:

 3                                     JURISDICTION AND VENUE

 4              1.    This class action is brought pursuant to California Code of Civil Procedure

 5     section 382. The monetary damages and restitution sought by Plaintiff exceed the minimal

 6     jurisdiction limits of the Superior Court and will be established according to proof at trial.

 7             2.     This Court has jurisdiction over this action pursuant to the California

 8     Constitution, Article VI, section 10. The statutes under which this action is brought do not

 9     specify any other basis for jurisdiction.

10             3.     This Court has jurisdiction over all Defendants because, upon information and

11     belief, Defendants are either citizens of California, have sufficient minimum contacts in

12     California, or otherwise intentionally avail themselves of the California market so as to render

13     the exercise of jurisdiction over them by the California courts consistent with traditional

14     notions of fair play and substantial justice.

15             4.     Venue is proper in this Court because Defendants employed Plaintiff and other

16     class members and continue to employ other class members in this county and thus a

17     substantial portion of the transactions and occurrences related to this action occurred in this

18     county. Cal. Civ. Proc. Code§ 395.

19                                              THE PARTIES

20             5.     Plaintiff Dallan Escobar performed employment services in the State of

21     California, including in Ontario, California, in San Bernardino County.

22             6.     Defendants Amazon.Com LLC and Amazon Logistics, Inc. (collectively

23    "Amazon") was and is, upon information and belief, a Delware corporation and, at all times

24    hereinafter mentioned, an employer whose employees are engaged throughout this county, the

25     State of California, or the various states of the United States of America.

26             7.     Plaintiff is unaware of the true names or capacities of the Defendants sued

27    herein under the fictitious names DOES 1 through 100 but will seek leave of this Court to

28    amend the complaint and serve such fictitiously named Defendants once their names and
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 1     capacities become known.

 2             8.        Plaintiff is informed and believes, and thereon alleges, that DOES 1 through

 3     100 are the partners, agents, owners, shareholders, managers or employees of Amazon at all

 4     relevant times.

 5             9.        Plaintiff is informed and believes, and thereon alleges, that each and all of the

 6     acts and omissions alleged herein were performed by, or are attributable to, Amazon and/or

 7     DOES 1 through 100 (collectively "Defendants"), each acting as the agent, employee, alter

 8     ego, and/or joint venturer of, or working in concert with, each of the other co-Defendants and

 9     was acting within the course and scope of such agency, employment, joint venture, or

10     concerted activity with legal authority to act on the others' behalf. The acts of any and all

11     Defendants represent and were in accordance with Defendants' official policy.

12             10.       At all relevant times, Defendants, and each of them, ratified each and every act

13     or omission complained of herein. At all relevant times, Defendants, and each of them, aided

14     and abetted the acts and omissions of each and all the other Defendants in proximately causing

15     the damages herein alleged.

16             11.       Plaintiff is informed and believes, and thereon alleges, that each of said

17     Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,

18     omissions, occurrences, and transactions alleged herein.

19                                     CLASS ACTION ALLEGATIONS

20             12.       Plaintiff brings this action on his own behalf, as well as on behalf of each and

21     all other persons similarly situated, and thus, seeks class certification under California Code of

22     Civil Procedure section 382.

23             13.       All claims alleged herein arise under California law for which Plaintiff seeks

24     relief authorized by California law.

25             14.       Plaintiffs proposed class consists of and is defined as follows:

26                       All individuals who worked for Defendants in the state of
                         California as Amazon Relay Drivers, or other similar position
27                       titles, at any time during the period from four years prior to the
                         filing of this Complaint until the date of certification ("Class").
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                                               CLASS ACTION COMPLAINT
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 1             15.    Members of the Class will hereinafter be referred to as "class members."

 2             16.    Plaintiff reserves the right to redefine the Class and to add additional subclasses

 3     as appropriate based on further investigation, discovery, and specific theories of liability.

 4             17.    There are common questions of law and fact as to the class members that

 5     predominate over questions affecting only individual members, including, but not limited to:

 6                    (a)    Whether Defendants required Plaintiff and class members to work off-

 7                           the-clock without payment;

 8                    (b)    Whether Defendants required Plaintiff and class members to work over

 9                           eight (8) hours per day, over twelve (12) hours per day, and/or over

10                            forty ( 40) hours per week and failed to pay legally required overtime

11                           compensation to Plaintiffs and class members;

12                    (c)    Whether Defendants failed to pay at least minimum wages for all hours

13                           worked by Plaintiff and class members;

14                    (d)    Whether Defendants deprived Plaintiff and class members of meal

15                           periods or required Plaintiff and class members to work during meal

16                           periods without compensation;

17                    (e)    Whether Defendants deprived Plaintiff and class members of rest

18                           periods or required Plaintiff and class members to work during rest

19                           periods without compensation;

20                    (t)    Whether Defendants complied with wage reporting as required by

21                           California Labor Code section 226(a);

22                    (g)    Whether Defendants failed to pay all vested and unused vacation pay

23                           due to Plaintiff and class members upon their discharge;

24                    (h)    Whether Defendants failed to timely pay wages due to Plaintiff and

25                            class members during their employment, including meal and rest period

26                           premium wages;

27                    (i)    Whether Defendants failed to timely pay wages due to class members

28                           upon their discharge, including meal and rest period premium wages;

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                                            CLASS ACTION COMPLAINT
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 1                    (j)       Whether Defendants' failure to pay wages, without abatement or

 2                              reduction, in accordance with the California Labor Code, was willful or

 3                              reckless;

 4                    (k)       Whether Defendant failed to reimburse Plaintiff and class members for

 5                              business expenses incurred in the discharge of their work duties;

 6                    (1)       Whether Defendants engaged in unfair business practices in violation of

 7                              California Business & Professions Code sections 17200, et seq.; and

 8                    (m)       The appropriate amount of damages, restitution, or monetary penalties

 9                              resulting from Defendants' violations of California law.

10             18.    There is a well-defined community of interest in the litigation and the class is

11     readily ascertainable:

12                    (a)       Numerosity: The members of the class are so numerous that joinder of

13                              all members would be unfeasible and impractical. The membership of

14                              the entire class is unknown to Plaintiff at this time; however, the class is

15                              estimated to be over forty and the identity of such membership is readily

16                              ascertainable by inspection of Defendants' employment records.

17                    (b)       Typicality: Plaintiff is qualified to, and will, fairly and adequately

18                              protect the interests of each class member with whom he has a well-

19                              defined community of interest, and Plaintiff's claims (or defenses, if

20                              any) are typical of all Class Members' as demonstrated herein.

21                    (c)       Adequacy: Plaintiff is qualified to, and will, fairly and adequately

22                              protect the interests of each class member with whom he has a well-

23                              defined community of interest and typicality of claims, as demonstrated

24                              herein. Plaintiff acknowledges that he has an obligation to make known

25                              to the Court any relationship, conflicts or differences with any class

26                              member. Plaintiff's attorneys, the proposed class counsel, are versed in

27                              the rules governing class action discovery, certification, and settlement.

28                              Plaintiff has incurred, and throughout the duration of this action, will

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                                              CLASS ACTION COMPLAINT
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 1                           continue to incur costs and attorneys' fees that have been, are and will

 2                           be necessarily expended for the prosecution of this action for the

 3                           substantial benefit of each class member.

 4                    (d)    Superiority: The nature of this action makes the use of class action

 5                           adjudication superior to other methods. A class action will achieve

 6                           economies of time, effort, and expense as compared with separate

 7                           lawsuits, and will avoid inconsistent outcomes because the same issues

 8                           can be adjudicated in the same manner and at the same time for the

 9                           entire class.

10                    (e)    Public Policy Considerations: Employers in the State of California

11                           violate employment and labor laws every day. Current employees are

12                           often afraid to assert their rights out of fear of direct or indirect

13                           retaliation. Former employees are fearful of bringing actions because

14                           they believe their former employers might damage their future

15                           endeavors through negative references and/or other means. Class

16                           actions provide the class members who are not named in the complaint

17                           with a type of anonymity that allows for the vindication of their rights at

18                           the same time as their privacy is protected.

19                                     GENERAL ALLEGATIONS

20             19.    Amazon is the largest provider of logistics and delivery services in North

21     America. Amazon has and continues to provide these services to clients throughout the state

22     of California through its "Amazon Relay" program

23             20.    Defendants employed Plaintiff as an Amazon Relay Driver charged with

24     delivering products to and on behalf of Amazon customers in the County of San Bernardino

25     from approximately February 2019 to 2020.

26             21.    In employing Plaintiff, Defendant's misclassified him as an "independent

27     contractor" and, on that basis, denied Plaintiff basic statutory rights and protections provided

28     to all California employees and complained of more fully herein.
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 1             22.     Defendants continue to employ employees in the position of Amazon Relay

 2     Drivers, and similar positions, who are similarly classified as "independent contractors"

 3    throughout California.

 4             23.     Plaintiff is informed and believes, and thereon alleges, that at all times herein

 5     mentioned, Defendants were advised by skilled lawyers and other professionals, employees

 6     and advisors knowledgeable about California labor and wage law, employment and personnel

 7     practices, and about the requirements of California law.

 8             24.     Plaintiff is informed and believes, and thereon alleges, that employees were not

 9     paid for all hours worked because all hours worked were not recorded.

10             25.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

11     should have known that Plaintiff and class members were entitled to receive certain wages for

12     overtime compensation and that they were not receiving certain wages for overtime

13     compensation.

14             26.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

15     should have known that Plaintiff and class members were entitled to receive at least minimum

16     wages for compensation and that, in violation of the California Labor Code, they were not

17     receiving at least minimum wages for work done off-the-clock.

18             27.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

19     should have known that Plaintiff and other class members were entitled to receive all meal

20     periods or payment of one ( 1) additional hour of pay at Plaintiff and other class members'

21     regular rate of pay when they did not receive a timely, uninterrupted meal period, and that

22     they did not receive all meal periods or payment of one (1) additional hour of pay at Plaintiff

23     and other class members' regular rate of pay when they did not receive a timely, uninterrupted

24     meal period.

25             28.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

26     should have known that Plaintiff and other class members were entitled to receive all rest

27     periods or payment of one ( 1) additional hour of pay at Plaintiff and other class members'

28     regular rate of pay when a rest period was missed, and that they did not receive all rest periods

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 1     or payment of one ( 1) additional hour of pay at Plaintiff and other class members' regular rate

 2     of pay when a rest period was missed.

 3             29.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

 4     should have known that Plaintiff and other class members were entitled to receive complete

 5     and accurate wage statements in accordance with California law. In violation of the California

 6     Labor Code, Plaintiff and other class members were not provided with complete and accurate

 7     wage statements.

 8             30.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

 9     should have known that Plaintiff and other class members were entitled to timely payment of

10     wages during their employment. In violation of the California Labor Code, Plaintiff and other

11     class members did not receive payment of all wages, including, but not limited to meal and

12     rest period premium wages, within permissible time periods.

13             31.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

14     should have known that terminated class members were entitled to timely payment of wages

15     upon termination. In violation of the California Labor Code, terminated class members did

16     not receive payment of all wages within permissible time periods.

17             32.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

18     should have known that class members were entitled to be fully reimbursed for all necessary

19     and reasonable business expenses incurred while completing their job duties. In violation of

20     the California Labor Code, Plaintiff and other class members did not receive reimbursement

21     for all expenses reasonably and necessarily incurred in the performance of their job duties.

22             33.    Plaintiff is informed and believes, and thereon alleges, that at all times herein

23     mentioned, Defendants knew or should have known that they had a duty to compensate

24     Plaintiff and other members of the class, and that Defendants had the financial ability to pay

25     such compensation, but willfully, knowingly, and intentionally failed to do so, and falsely

26     represented to Plaintiff and other class members that they were properly denied wages, all in

27     order to increase Defendants' profits.

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 1                                      FIRST CAUSE OF ACTION
 2               Violation of California Labor Code§§ 510 and 1198-Unpaid Overtime

 3                                        (Against All Defendants)
 4              34.   Plaintiff incorporates by reference and re-alleges as if fully stated herein each

 5     and every allegation set forth above.

 6              35.   California Labor Code section 1198 makes it illegal to employ an employee

 7     under conditions of labor that are prohibited by the applicable wage order. California Labor

 8     Code section 1198 requires that" ... the standard conditions oflabor fixed by the commission

 9     shall be the ... standard conditions of labor for employees. The employment of any employee

10     ... under conditions of labor prohibited by the order is unlawful."

11              36.   California Labor Code section 1198 and the applicable Industrial Welfare

12     Commission ("IWC") Wage Order provide that it is unlawful to employ persons without

13     compensating them at a rate of pay either time-and-one-half or two-times that person's regular

14     rate of pay, depending on the number of hours worked by the person on a daily or weekly

15     basis.

16              37.   Specifically, the applicable IWC Wage Order provides that Defendants are and

17     were required to pay Plaintiff and class members employed by Defendants, and working more

18     than eight (8) hours in a day or more than forty (40) hours in a workweek, at the rate of time-

19     and-one-half for all hours worked in excess of eight (8) hours in a day or more than forty (40)

20     hours in a workweek.

21              38.   The applicable IWC Wage Order further provides that Defendants are and were

22     required to pay Plaintiff and class members employed by Defendants, and working more than

23     twelve (12) hours in a day, overtime compensation at a rate of two (2) times their regular rate

24     ofpay.

25              39.   California Labor Code section 510 codifies the right to overtime compensation

26     at one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours

27     in a day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day

28     of work, and to overtime compensation at twice the regular hourly rate for hours worked in
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 1     excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day

 2     ofwork.

 3             40.    During the relevant time period, Plaintiff and class members worked in excess

 4     of eight (8) hours in a day, in excess of twelve (12) hours in a day, and/or in excess of forty

 5     (40) hours in a week. Despite this work, Defendant did not compensate Plaintiff and Class

 6     members the applicable overtime compensation rate for this work.

 7             41.    Defendants' failure to pay Plaintiff and class members the unpaid balance of

 8     overtime compensation, as required by California law, violates the provisions of California

 9     Labor Code sections 510 and 1198, and is therefore unlawful.

               42.    Pursuant to California Labor Code section 1194, Plaintiff and class members

11     are entitled to recover their unpaid overtime compensation, as well as interest, costs, and

12     attorneys' fees.

13                                    SECOND CAUSE OF ACTION

14       Violation of California Labor Code§§ 1194, 1197, 1197.1-Unpaid Minimum Wages

15                                        (Against All Defendants)

16             43.    Plaintiff incorporates by reference and re-alleges as if fully stated herein each

17     and every allegation set forth above.

18             44.    At all relevant times, California Labor Code sections 1194, 1197 and 1197 .1

19     provide that the minimum wage for employees fixed by the Industrial Welfare Commission is

20     the minimum wage to be paid to employees, and the payment of a wage less than the

21     minimum so fixed is unlawful. Defendants regularly required Plaintiff and class members to

22     work off-the-clock. Defendants did not pay at least minimum wages for all of these off-the-

23     clock hours. Also, to the extent that these off-the-clock hours did not qualify for overtime

24     premium payment, Defendants did not pay minimum wages for those hours worked off-the-

25     clock in violation of California Labor Code sections 1194, 1197, and 1197 .1.

26             45.    Defendants' failure to pay Plaintiff and class members the minimum wage as

27     required violates California Labor Code sections 1194, 1197 and 1197 .1. Pursuant to those

28     sections, Plaintiff and class members are entitled to recover the unpaid balance of their
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 1     minimum wage compensation, as well as interest, costs, and attorney's fees.

 2             46.    Pursuant to California Labor Code section 1194.2, Plaintiff and class members

 3     are entitled to recover liquidated damages in an amount equal to the wages unlawfully unpaid

 4     and interest thereon.

 5                                     THIRD CAUSE OF ACTION

 6          Violations of California Labor Code§§ 226.7 and 512(a)-Unpaid Meal Period

 7                                                Premiums

 8                                        (Against All Defendants)

 9             4 7.   Plaintiff incorporates by reference and re-alleges as if fully stated herein each

10     and every allegation set forth above.

11            48.     At all relevant times herein set forth, the applicable California Industrial

12     Welfare Commission (IWC) Wage Order(s) and California Labor Code sections 226.7 and

13     512(a) were applicable to Plaintiffs and the other class members' employment by Defendants

14     and each of them.

15            49.     At all relevant times herein set forth, California Labor Code section 226. 7

16     provides that no employer shall require an employee to work during any meal period

17     mandated by an applicable order of the California Industrial Welfare Commission (IWC).

18            50.     At all relevant times herein set forth, California Labor Code section 512( a)

19     provides that an employer may not require, cause, or permit an employee to work for a period

20     of more than five (5) hours per day without providing the employee with a meal period of not

21     less than thirty (30) minutes, except that if the total work period per day of the employee is

22     not more than six (6) hours, the meal period may be waived by mutual consent of both the

23     employer and the employee.

24                    During the relevant time period, Plaintiff and other class members scheduled to

25     work for a period of time no longer than six (6) hours, and who did not waive their legally

26     mandated meal periods by mutual consent, were required to work for periods longer than five

27     (5) hours without a meal period of not less than thirty (30) minutes.

28            52.     During the relevant time period, Defendants willfully required Plaintiff and

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                                            CLASS ACTION COMPLAINT
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 1     other class members to work during meal periods and failed to compensate them for work

 2     performed during meal periods. For example, Defendants had a policy and/or practice of

 3     failing to schedule customer appointments and to properly coordinate employee schedules

 4     such that Plaintiff and other class members were relieved of all duties and permitted to take

 5     compliant meal breaks. Instead, Plaintiff and other class members were required to work

 6     through meal periods, cut their meal periods short, suffer interruptions during meal periods,

 7     and/or take meal periods after the fifth hour of work because of Defendants' practices.

 8     Defendants then failed to pay Plaintiff and other class members all meal period premiums due

 9     pursuant to California Labor Code section 226. 7.

10            53.     Defendants' conduct violates applicable Industrial Welfare Commission (IWC)

11     Wage Order(s), and California Labor Code sections 226.7 and 512(a).

12            54.     Pursuant to the applicable Industrial Welfare Commission (IWC) Wage

13     Order(s) and California Labor Code section 226.7(b), Plaintiff and other class members are

14     entitled to recover from Defendants one (1) additional hour of pay at the employee's regular

15     hourly rate of compensation for each work day that the meal period was not provided.

16                                    FOURTH CAUSE OF ACTION

17            Violation of California Labor Code§ 226.7-Unpaid Rest Period Premiums

18                                       (Against All Defendants)

19            55.    Plaintiff incorporates by reference and re-alleges as if fully stated herein each

20     and every allegation set forth above.

21            56.    At all relevant times herein set forth, the applicable IWC Wage Order and

22     California Labor Code section 226.7 were applicable to Plaintiffs and class members'

23     employment by Defendants.

24            57.    At all relevant times, California Labor Code section 226. 7 provides that no

25     employer shall require an employee to work during any rest period mandated by an applicable

26     order of the California IWC.

27            58.    At all relevant times, the applicable IWC Wage Order provides that "[e]very

28     employer shall authorize and permit all employees to take rest periods, which insofar as
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 1     practicable shall be in the middle of each work period" and that the "rest period time shall be

 2     based on the total hours worked daily at the rate of ten (10) minutes net rest time per four (4)

 3     hours or major fraction thereof' unless the total daily work time is less than three and one-half

 4     (3½) hours.

 5            59.       During the relevant time period, Defendants required Plaintiff and class

 6     members to work four ( 4) or more hours without authorizing or permitting a ten (10) minute

 7     rest period per each four (4) hour period worked. As with meal periods, Defendants failure to

 8     properly staff and coordinate customer appointments lead to their being unable to take

 9     compliant rest breaks, even where they had knowledge about their rest break rights.

10     Defendants then failed to pay Plaintiff and class members the full rest period premium due

11     pursuant to California Labor Code section 226.7. As a result, Defendants failed to pay

12     Plaintiff and other class members rest period premiums in violation of California Labor Code

13     section 226.7.

14            60.       During the relevant time period, Defendants failed to pay Plaintiff and class

15     members the full rest period premium due pursuant to California Labor Code section 226.7.

16            61.       Defendants' conduct violates the applicable IWC Wage Orders and California

17     Labor Code section 226.7.

18            62.       Pursuant to the applicable IWC Wage Order and California Labor Code section

19     226. 7(b), Plaintiff and class members are entitled to recover from Defendants one (1)

20     additional hour of pay at the employee's regular hourly rate of compensation for each work

21     day that the rest period was not provided.

22                                       FIFTH CAUSE OF ACTION

23        Violation of California Labor Code§§ 201 and 202 - Wages Not Timely Paid Upon

24                                                 Termination

25                                          (Against All Defendants)

26             63.      Plaintiff incorporates by reference and re-alleges as if fully stated herein each

27     and every allegation set forth above.

28             64.      This cause of action is wholly derivative of and dependent upon the unpaid

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 1     wage claims set forth for unpaid overtime wages, unpaid minimum wages, and unpaid meal

 2     and rest period premium wages, which remained unpaid upon termination of terminated class

 3     members' employment.

 4             65.    At all times herein set forth, California Labor Code sections 201 and 202

 5     provide that if an employer discharges an employee, the wages earned and unpaid at the time

 6     of discharge are due and payable immediately, and that if an employee voluntarily leaves his

 7     or her employment, his or her wages shall become due and payable not later than seventy-two

 8     (72) hours thereafter, unless the employee has given seventy-two (72) hours previous notice of

 9     his or her intention to quit, in which case the employee is entitled to his or her wages at the

10     time of quitting.

11             66.    During the relevant time period, Defendants willfully failed to pay class

12     members who are no longer employed by Defendants the earned and unpaid wages set forth

13     above, including but not limited to, overtime wages, minimum wages, and meal and rest

14     period premium wages, either at the time of discharge, or within seventy-two (72) hours of

15     their leaving Defendants' employ.

16             67.    Defendants' failure to pay those class members who are no longer employed by

17     Defendants their wages earned and unpaid at the time of discharge, or within seventy-two (72)

18     hours of their leaving Defendants' employ, is in violation of California Labor Code sections

19     201 and 202.

20             68.    California Labor Code section 203 provides that if an employer willfully fails

21     to pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

22     shall continue as a penalty from the due date, and at the same rate until paid or until an action

23     is commenced; but the wages shall not continue for more than thirty (30) days.

24             69.    Terminated class members are entitled to recover from Defendants the statutory

25     penalty wages for each day they were not paid, at their regular hourly rate of pay, up to a

26     thirty (30) day maximum pursuant to California Labor Code section 203.

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                                            CLASS ACTION COMPLAINT
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 1                                      SIXTH CAUSE OF ACTION

 2          Violation of California Labor Code § 226(a)-Non-Compliant Wage Statements

 3                                         (Against All Defendants)

 4               70.   Plaintiff incorporates by reference and re-alleges as if fully stated herein each

 5     and every allegation set forth above.

 6               71.   At all material times set forth herein, California Labor Code section 226(a)

 7     provides that every employer shall furnish each of his or her employees an accurate itemized

 8     wage statement in writing, including, but not limited to, the name and address of the legal

 9     entity that is the employer, total hours worked, and all applicable hourly rates.

                 72.   Defendants have intentionally and willfully failed to provide employees with or

11     retain complete and accurate wage statements. The deficiencies include, among other things,

12     failing to state the total amount of hours worked, failing to state all wages owed or paid

13     including but not limited to, overtime wages, minimum wages, and meal and rest period

14     premium wages as a result of failing to properly record meal period violations and/ or

15     premiums. Further, in violation of California Labor Code section 226(a), Defendants do not

16     maintain on file a copy of the itemized statements provided to employees or a computer-

17     generated record that accurately shows gross wages earned for all hours worked and not

18     recorded, total hours worked by the employee as a result of working off the clock and not

19     recording those hours, the inclusive dates of the period for which the employee is paid, the

20     name and address of the legal entity that is the employer, and all applicable hourly rates in

21     effect during the pay period and the corresponding number of hours worked at each hourly

22     rate by the employee as required by California Labor Code section 226(a).

23               73.   As a result of Defendants' violation of California Labor Code section 226(a),

24     Plaintiff and class members have suffered injury and damage to their statutorily protected

25     rights.

26               74.   Specifically, Plaintiff and class members have been injured by Defendants'

27     intentional violation of California Labor Code section 226(a) because they were denied both

28     their legal right to receive, and their protected interest in receiving, accurate, itemized wage
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                                               CLASS ACTION COMPLAINT
     Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 18 of 29 Page ID #:37
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 1     statements under California Labor Code section 226(a). In addition, because Defendants

 2     failed to provide the accurate number of total hours worked on wage statements, Plaintiff has

 3     been prevented by Defendants from determining if all hours worked were paid and the extent

 4     of the underpayment. Plaintiff has had to file this lawsuit, conduct discovery, reconstruct time

 5     records, and perform computations in order to analyze whether in fact Plaintiff was paid

 6     correctly and the extent of the underpayment, thereby causing Plaintiff to incur expenses and

 7     lost time. Plaintiff would not have had to engage in these efforts and incur these costs had

 8     Defendants provided the accurate number of total hours worked. This has also delayed

 9     Plaintiffs ability to demand and recover the underpayment of wages from Defendants.

10             75.     Plaintiff and class members are entitled to recover from Defendants the greater

11     of their actual damages caused by Defendants' failure to comply with California Labor Code

12     section 226(a), or an aggregate penalty not exceeding four thousand dollars ($4,000) per

13     employee.

14                                    SEVENTH CAUSE OF ACTION

15                   Violation of California Business & Professions Code § 2802, et seq.

16                                         (Against All Defendants)

17             76.     Plaintiff incorporates by reference and re-alleges as if fully stated herein each

18     and every allegation set forth above.

19             77.     Labor Code§ 2802 provides that "(a]n employer shall indemnify his or her

20     employee for all necessary expenditures or losses incurred by the employee in direct

21     consequence of the discharge of his or her duties."

22             78.     In order to discharge their duties for Defendants, Plaintiff and Class Members
23     have incurred reasonable and necessary expenses in the course of completing their job duties,

24     which were not reimbursed by Defendants.

25             79.     Plaintiff and Class Members are entitled to reimbursement for these necessary

26     expenditures, plus interest and attorneys' fees and costs, under Labor Code§ 2802.

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                                               CLASS ACTION COMPLAINT
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 1                                      EIGHTH CAUSE OF ACTION

 2                   Violation of California Business & Professions Code §§ 17200, et seq.

 3                                          (Against All Defendants)

 4             80.      Plaintiff incorporates by reference and re-alleges as if fully stated herein each

 5     and every allegation set forth above.

 6             81.      Defendants' conduct, as alleged herein, has been, and continues to be, unfair,

 7     unlawful and harmful to Plaintiff class members, and to the general public. Plaintiff seeks to

 8     enforce important rights affecting the public interest within the meaning of Code of Civil

 9     Procedure section 1021.5.

10             82.      Defendants' activities, as alleged herein, are violations of California law, and

11     constitute unlawful business acts and practices in violation of California Business &

12     Professions Code sections 17200, et seq.

13             83.      A violation of California Business & Professions Code sections 17200, et seq.

14     may be predicated on the violation of any state or federal law. In the instant case, Defendants'

15     policies and practices have violated state law in at least the following respects:

16                      (a)    Requiring non-exempt employees, including Plaintiff and class

17                             members, to work overtime without paying them proper compensation

18                             in violation of California Labor Code sections 510 and 1198 and the

19                             applicable Industrial Welfare Commission Order;

20                      (b)    Failing to pay at least minimum wage to Plaintiff and class members in

21                             violation of California Labor Code sections 1194, 1197 and 1197 .1 and

22                             the applicable Industrial Welfare Commission Order;

23                      (c)    Failing to provide meal and rest periods or to pay premium wages for

24                             missed meal and rest periods to Plaintiff and class members in violation

25                             of California Labor Code sections 226.7 and 512 and the applicable

26                             Industrial Welfare Commission Order;

27                      (d)    Failing to provide Plaintiff and class members with accurate wage

28                             statements in violation of California Labor Code section 226(a) and the
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                                              CLASS ACTION COMPLAINT
     Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 20 of 29 Page ID #:39
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 1                           applicable Industrial Welfare Commission Order;

 2                   (e)     Failing to reimburse Plaintiff and class members for all necessary and

 3                           reasonable business expenses incurred in the performance of their job

 4                           duties and

 5                   (t)     Failing to timely pay all earned wages to Plaintiff and class members in

 6                           violation of California Labor Code section 204 and the applicable

 7                           Industrial Welfare Commission Order as set forth below.

 8             84.   California Labor Code section 1198 makes it illegal to employ an employee

 9     under conditions of labor that are prohibited by the applicable wage order. California Labor

10     Code section 1198 requires that " ... the standard conditions of labor fixed by the commission

11     shall be the ... standard conditions of labor for employees. The employment of any employee

12     ... under conditions of labor prohibited by the order is unlawful."

13             85.   California Labor Code section 204 requires that all wages earned by any person

14     in any employment between the 1st and the 15th days, inclusive, of any calendar month, other

15     than those wages due upon termination of an employee, are due and payable between the 16th

16     and the 26th day of the month during which the labor was performed, and that all wages

17     earned by any person in any employment between the 16th and the last day, inclusive, of any

18     calendar month, other than those wages due upon termination of an employee, are due and

19     payable between the 1st and the 10th day of the following month. California Labor Code

20     section 204 also requires that all wages earned for labor in excess of the normal work period

21     shall be paid no later than the payday for the next regular payroll period. During the relevant

22     time period, Defendants failed to pay Plaintiff and class members all wages due to them,

23     including, but not limited to, overtime wages, minimum wages, and meal and rest period

24     premium wages, within any time period specified by California Labor Code section 204.

25             86.   Pursuant to California Business & Professions Code sections 17200 et seq.,

26     Plaintiff and class members are entitled to restitution of the wages withheld and retained by

27     Defendants during a period that commences four years prior to the filing of this complaint; a

28     permanent injunction requiring Defendants to pay all outstanding wages due to Plaintiff and

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                                            CLASS ACTION COMPLAINT
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 1     class members; an award of attorneys' fees pursuant to California Code of Civil Procedure

 2     section 1021.5 and other applicable laws; and an award of costs.

 3                                     REQUEST FOR JURY TRIAL

 4            Plaintiff requests a trial by jury.

 5                                         PRAYER FOR RELIEF

 6            Plaintiff, on behalf of all others similarly situated, pray for relief and judgment against

 7     Defendants, jointly and severally, as follows:

 8            1.      For damages, unpaid wages, penalties, injunctive relief, and attorneys' fees in

 9     excess of twenty-five thousand dollars ($25,000).

10                                             Class Certification

11            2.      That this case be certified as a class action;

12             3.     That Plaintiff be appointed as the representative of the Class;

13             4.     That counsel for Plaintiff be appointed as Class Counsel.

14                                      As to the First Cause of Action

15             5.     That the Court declare, adjudge, and decree that Defendants violated California

16     Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to

17     pay all overtime wages due to Plaintiff and class members;

18             6.     For general unpaid wages at overtime wage rates and such general and special

19     damages as may be appropriate;

20             7.     For pre-judgment interest on any unpaid overtime compensation commencing

21     from the date such amounts were due;

22             8.     For reasonable attorneys' fees and for costs of suit incurred herein pursuant to

23     California Labor Code section 1194(a); and

24             9.     For such other and further relief as the Court may deem equitable and

25     appropriate.

26                                    As to the Second Cause of Action

27             10.    That the Court declare, adjudge and decree that Defendants violated California

28     Labor Code sections 1194, 1197 and 1197 .1 by willfully failing to pay minimum wages to

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 1     Plaintiff and class members;

 2              11.   For general unpaid wages and such general and special damages as may be

 3     appropriate;

 4              12.   For pre-judgment interest on any unpaid compensation from the date such

 5     amounts were due;

 6              13.   For reasonable attorneys' fees and for costs of suit incurred herein pursuant to

 7     California Labor Code section 1194(a);

 8              14.   For liquidated damages pursuant to California Labor Code section 1194.2; and

 9              15.   For such other and further relief as the Court may deem equitable and

10     appropriate.

11                                    As to the Third Cause of Action

12              16.   That the Court declare, adjudge, and decree that Defendants violated California

13     Labor Code sections 226.7 and 512(a) and applicable Industrial Welfare Commission (IWC)

14     Wage Order(s) by willfully failing to provide all meal periods to Plaintiff and class members;

15              17.   That the Court make an award to the Plaintiff and class members of one ( 1)

16     hour of pay at each employee's regular rate of compensation for each workday that a meal

17     period was not provided;

18              18.   For all actual, consequential, and incidental losses and damages, according to

19     proof;

20              19.   For premiums pursuant to California Labor Code section 226.7(b);

21              20.   For pre-judgment interest on any unpaid meal period premiums from the date

22     such amounts were due; and

23              21.   For such other and further relief as the Court may deem equitable and

24     appropriate.

25                                    As to the Fourth Cause of Action

26              22.   That the Court declare, adjudge and decree that Defendants violated California

27     Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

28     rest periods to Plaintiff and class members;
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                                            CLASS ACTION COMPLAINT
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 1              23.    That the Court make an award to the Plaintiff and class members of one (1) hour

 2     of pay at each employee's regular rate of compensation for each workday that a rest period

 3     was not provided;

 4              24.    For all actual, consequential, and incidental losses and damages, according to

 5     proof;

 6              25.    For premiums pursuant to California Labor Code section 226.7(b);

 7              26.    For pre-judgment interest on any unpaid rest period premiums from the date

 8     such amounts were due; and

 9              27.    For such other and further relief as the Court may deem equitable and

10     appropriate.

11                                     As to the Fifth Cause of Action

12              28.    That the Court declare, adjudge and decree that Defendants violated California

13     Labor Code sections 201, 202, and 203 by willfully failing to pay all overtime wages,

14     minimum wages, and meal and rest period premium wages owed at the time of termination of

15     the employment of Plaintiff and other class members no longer employed by Defendants.

16              29.    For all actual, consequential and incidental losses and damages, according to

17     proof;

18              30.    For statutory wage penalties pursuant to California Labor Code section 203 for

19     Plaintiff and all other class members who have left Defendants' employ;

20              31.    For pre-judgment interest on any unpaid wages from the date such amounts

21     were due; and

22              32.    For such other and further relief as the Court may deem equitable and

23     appropriate.
24                                     As to the Sixth Cause of Action

25              33.    That the Court declare, adjudge and decree that Defendants violated the

26     recordkeeping provisions of California Labor Code section 226(a) and applicable IWC Wage
27     Orders as to Plaintiff and class members, and willfully failed to provide accurate itemized

28     wage statements thereto;
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                                            CLASS ACTION COMPLAINT
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 1              34.   For all actual, consequential and incidental losses and damages, according to

 2     proof;

 3              35.   For statutory penalties and injunctive relief pursuant to California Labor Code

 4     section 226( e) and (h); and

 5              36.   For such other and further relief as the Court may deem equitable and

 6     appropriate.

 7                                    As to the Seventh Cause of Action

 8              37.   That the Court declare that Defendants' policies and/or practices violate

 9     California law by failing to reimburse all business expenses incurred by Plaintiff and class

10     members in the discharge of their duties as employees of Defendants violates California

11     Labor Code § 2802;

12              38.   For all actual, consequential and incidental losses and damages, according to

13     proof;

14              39.   For an award of damages in the amount of unpaid unreimbursed business

15     expenses, pursuant to California Labor Code Section 2802, according to proof;

16              40.   For pre-judgment interest on any unpaid unreimbursed business expenses from

17     the date such amounts were due; and

18              41.   For such other and further relief as the Court may deem equitable and

19     appropriate.

20                                    As to the Eighth Cause of Action

21              42.   That the Court declare, adjudge and decree that Defendants violated California

22     Business and Professions Code sections 17200, et seq. by failing to pay overtime

23     compensation due, failing to pay at least minimum wages for all hours worked, failing to

24     provide meal and rest periods or premium wages in lieu thereof, failing to provide accurate

25     wage statements, and failing timely to pay all earned wages during employment and upon

26     termination;

27              43.   For restitution of unpaid wages to Plaintiff and all class members and

28     prejudgment interest from the day such amounts were due and payable;
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                                            CLASS ACTION COMPLAINT
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 1               44.   For the appointment of a receiver to receive, manage and distribute any and all

 2     funds disgorged from Defendants and determined to have been wrongfully acquired by

 3     Defendants as a result of violations of California Business & Professions Code sections 17200

 4     etseq.;

 5               45.   For reasonable attorneys' fees and costs of suit incurred herein pursuant to

 6     California Code of Civil Procedure section 1021.5; and

 7               46.   For such other and further relief as the Court may deem equitable and

 8     appropriate.

 9

10     Dated: August 11, 2021                           Respectfully submitted,
11                                                      The Bainer Law Firm
12

13                                                By:   ------------------
                                                        Matthew R. Bainer, Esq.
14
                                                        Attorneys for Plaintiff Dallan Escobar
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                                             CLASS ACTION COMPLAINT
                   Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 26 of 29 Page ID #:45
                                                                                                                                                                      CM-010
   ATTORNEY OR PARTY ')'IITHO\,11: ATTORNEY (Name, State Bar number, and address)·                                                   FOR COURT USE ONLY
     Matthew R. Bamer (No. 220972)
     1901 Harrison St., Ste. 1100
     Oakland, CA 94612                                                                                                              Fl LED
     mbainer@bainerlawfinn.com                                                                                        SUPERIOR COURT OF CALIFORNIA
           TELEPHONE NO.:        510-922-1802                        FAX NO.:   510-844-7701                           COUNTY OF SAN BERNARDINO
   ATTORNEY FOR (Name)           Dalian Escobar                                                                         SAN BERNARDINO DISTRICT
 SUPERIOR      couRT oF CALIFORNIA, couNTY OF      San Bernardino
          sTREETADDRess:         247 West Third Street, San Bernardino, CA 92415                                                  AUG 1-1 2021
          MA1uNGADDREss          247 West Third Street
       c1lY AND z1P coDE         San Bernardino, CA 92415
            BRANCH NAME          San Bernardino Justice Center                                                      BY      'i:=e-&Jc
    CASE NAME:                                                                                                           JUSTIN MANASSEE, DEPUTY
    Escobar v. Amazon.com, LLC, et al.
          CIVIL CASE COVER SHEET                                                                                   CASE NUMBER:
                                                                         Complex Case Designation
 [l]       Unlimited              D
                            Limited
                                                        Counter    D         Joinder         D
           (Amount          (Amount
                                                                                           JUDGE:
           demanded         demanded is          Filed with first appearance by defendant
           exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT
                                Items 1-6 below must be completed (see instructions on page 2).                                          .   .   '

 1. Check one box below for the case type that best describes this case:
     Auto Tort                                                  Contract                                    Provisionally Complex Clvll Litigation
     D        Auto (22)                                         D       Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
     D        Uninsured motorist (46)                           D       Rule 3.740 collections (09)         D     Antitrustrrrade regulation (03)
     Other Pl/PD/WO (Personal Injury/Property                   D       Other collections (09)              D     Construction defect (10)
     Damage/Wrongful Death) Tort                                D       Insurance coverage (18)             D     Mass tort (40)
     D        Asbestos (04)                                     D       Other contract (37)                 D     Securities litigation (28)
     D        Product liability (24)                            Real Property                               D     Environmental/Toxic tort (30)
     D        Medical malpractice (45)                          D Eminent domain/Inverse                    D     Insurance coverage claims arising from the
     D        Other Pl/PD/WO (23)                                     condemnation (14)                           above listed provisionally complex case
     Non-Pl/PD/WO (Other) Tort                                  D Wrongful eviction (33)                          types (41)
     D   Business tort/unfair business practice (07)            D
                                                            Other real property (26)                        Enforcement of Judgment
     D   Civil rights (08)                           Unlawful Detainer                                      D     Enforcement of judgment (20)
    D    Defamation (13)                                        D
                                                            Commercial (31)                                 Miscellaneous Civil Complaint
    D    Fraud (16)                                             D
                                                            Residential (32)                                0     RICO(27)
    D    Intellectual property (19)                             D
                                                            Drugs (38)                                      D     Other complaint (not specified above) (42)
    D    Professional negligence (25)                Judlcial Review                                        Mlscellaneous Civil Petition
    D    Other non-Pl/PD/WO tort (35)                          D
                                                           Asset forfeiture (05)                            D     Partnership and corporate governance (21)
    emjloyment                                                 D
                                                           Petition re: arbitration award (11)              D     Other petition (not specified above) (43)
    1    Wrongful termination (36)                             D
                                                           Writ of mandate (02)
    [Z] Other employment (15)                                  D
                                                           Other ·udicial review 39
2. This case           is          is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
     a.   [l]     Large number of separately represented parties                      d.   [l] Large number of witnesses
     b.   [l]     Extensive motion practice raising difficult or novel                e.   D   Coordination with related actions pending in one or more courts
                  issues that will be time-consuming to resolve                                in other counties, states, or countries. or in a federal court
     c.   [ZJ     Substantial amount of documentary evidence                          f. [Z]   Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.CZ] monetary                            b. [ZJ nonmonetary; declaratory or injunctive relief               c.   D     punitive
4. Number of causes of action (specify): Eight
5. This case [ZJ is                   D
                                is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: August 11, 2021

                                                                                               ►
Matthew R. Bainer, Esq.
                                  (lYPE OR PRINT NAME)
                                                                                     NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                    ffaoe 1 of 2
Form Adopted for Mandatory Use                                                                                       Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740:
  Judicial Council of CalWomia
                                                               CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
  CM-010 [Rev July 1, 2007]                                                                                                                                www.courtinfo.ca.gov
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                 Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 28 of 29 Page ID #:47
                                            '-"                                                      '-"                                         CM-010
                                        INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                         CASE TYPES AND EXAMPLES
Auto Tort                                         Contract                                                 Provisionally Complex Civil Litigation (Cal.
       Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)                     Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                          Breach of Rental/Lease                                Antitrust!Trade Regulation (03)
       Uninsured Motorist (46) (if the                        Contract (not unlawful detainer                   Construction Defect (10)
        case involves an uninsured                                 or wrongful eviction)                        Claims Involving Mass Tort (40)
        motorist claim subject to                         Contract/Warranty Breach-Seller                       Securities Litigation (28)
        arbitration, check this item                           Plaintiff (not fraud or negligence)              Environmental/Toxic Tort (30)
        instead of Auto)                                  Negligent Breach of Contract/                         Insurance Coverage Claims
Other Pl/PD/WO (Personal Injury/                               Warranty                                            (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                        case type listed above) (41)
Tort                                                  Collections (e.g., money owed, open                   Enforcement of Judgment
       Asbestos (04)                                      book accounts) (09)                                   Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case-Seller Plaintiff                          Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                             County)
           Asbestos Personal Injury/
               Wrongful Death                                  Case                                                 Confession of Judgment (non-
       Product Liability (not asbestos or             Insurance Coverage (not provisionally                              domestic relations)
           toxic/environmental) (24)                      complex) (18)                                             Sister State Judgment
   Medical Malpractice (45)                               Auto Subrogation                                          Administrative Agency Award
        Medical Malpractice-                              Other Coverage                                                (not unpaid taxes)
              Physicians & Surgeons                   Other Contract (37)                                           Petition/Certification of Entry of
                                                          Contractual Fraud                                             Judgment on Unpaid Taxes
        Other Professional Health Care
              Malpractice                                 Other Contract Dispute                                    Other Enforcement of Judgment
                                                  Real Property                                                          Case
   Other Pl/PD/WO (23)
                                                      Eminent Domain/Inverse                                Miscellaneous Civil Complaint
        Premises Liability (e.g., slip
                                                         Condemnation (14)                                     RICO (27)
              and fall)
                                                      Wrongful Eviction (33)                                   Other Complaint (not specified
        Intentional Bodily Injury/PD/WO                                                                             above) (42)
              (e.g., assault, vandalism)              Other Real Property (e.g., quiet title) (26)                  Declaratory Relief Only
        Intentional Infliction of                        Writ of Possession of Real Property                        Injunctive Relief Only (non-
              Emotional Distress                         Mortgage Foreclosure                                            harassment)
        Negligent Infliction of                          Quiet Title                                                Mechanics Lien
              Emotional Distress                         Other Real Property (not eminent                           Other Commercial Complaint
        Other Pl/PO/WO                                   domain, landlorc:Vtenant, or                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)                                               Other Civil Complaint
   Business Tort/Unfair Business                  Unlawful Detainer                                                    (non-tort/non-complex)
       Practice (07)                                  Commercial (31)                                       Miscellaneous Civil Petition
   Civil Rights (e.g., discrimination,                Residential (32)                                          Partnership and Corporate
       false arrest) (not civil                       Drugs (38) (if the case involves illegal                      Governance (21)
        harassment) (08)                                  drugs, check this item; otherwise,                    Other Petition (not specifted
   Defamation (e.g., slander, libel)                      report as Commercial or Residential)                      above) (43)
         (13)                                     Judicial Review                                                   Civil Harassment
   Fraud (16)                                         Asset Forfeiture (05)                                         Workplace Violence
   Intellectual Property (19)                         Petition Re: Arbitration Award ( 11)                          Elder/Dependent Adult
   Professional Negligence (25)                       Writ of Mandate (02)                                               Abuse
       Legal Malpractice                                  Writ-Administrative Mandamus                              Election Contest
       Other Professional Malpractice                      Writ-Mandamus on Limited Court                           Petition for Name Change
               (not medical or legal)                         Case Matter                                           Petition for Relief From Late
       Other Non-Pl/PD/WO Tort (35)                       Writ-Other Limited Court Case                                  Claim
Employment                                                    Review                                                Other Civil Petition
     Wrongful Termination (36)                        Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
                                                                                                                                                    Page 2of 2
CM-010 [Rev July 1, 2007]
                                                      CIVIL CASE COVER SHEET
            Case 2:21-cv-08026 Document 1-2 Filed 10/08/21 Page 29 of 29 Page ID #:48
                                   "-'                                             '-'
                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

                                                                                         CIV SB 2 1 2 3 0 6 6
   DALLAN ESCOBAR                                                         Case No.: _________

                          vs.                                             CERTIFICATE OF ASSIGNMENT

 AMAZON.COM, LLC, et al.

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
  is the residence of a party, name and residence shall be stated.
  The undersigned declares that the above-entitled matter is filed for proceedings in the
   Civil Division of San Bernardino District of the Superior Court under Rule131 and General Order
  of this court for the checked reason:
         [ii General                        D
                                            Collection
                Nature of Action              Ground
 □          1. Adoption                Petitioner resides within the district
 □          2. Conservator             Petitioner or conservatee resides within the district.
 □          3. Contract                Performance in the district is expressly provided for.
 □         4. Equity                   The cause of action arose within the district.
 □          5. Eminent Domain          The property is located within the district.
 □          6. Family Law              Plaintiff, defendant, petitioner or respondent resides within the district.
 □          7. Guardianship            Petitioner or ward resides within the district or has property within the district.
 □          8. Harassment              Plaintiff, defendant, petitioner or respondent resides within the district.
 □          9. Mandate                 The defendant functions wholly within the district.
 □         10. Name Change             The petitioner resides within the district.
 □         11. Personal Injury         The injury occurred within the district.
 □         12. Personal Property       The property is located witf:lin the district.

 8         13. Probate
           14. Prohibition
                                       Decedent resided or resides within or had property within the district.
                                       The defendant functions wholly within the district.
 □         15. Review                  The defendant functions wholly within the district.
 □         16. Title to Real Property  The property is located within the district.
 □         17. Transferred Action      The lower court is located within the district.
 □         18. Unlawful Detainer       The property is located within the district.
 □         19. Domestic Violence       The petitioner, defendant, plaintiff or respondent resides within the district.
 □         20. Other - - - - - -
 □         21. THIS FILING WOULD      NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

  The address of the accident, performance, party, detention, place of business, or other factor which qualifies this
  case for filing in the above-designed district is:                                           ·

Amazon.com, LLC                                                                           5450 E. Francis Street
     NAME - INDICATE TITLE OR OTHERO0ALiFYING FACTOR                                      ADDRESS

Ontario                                                           CA                                       91761
    CITY                                                                  STATE                                 ZIP CODE       ....
  I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
  executed on August 11, 2021            at__O_a_k_la_n_d__
                                                         , _C_A_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  California.


                                                                                          Signature of Attorney/Party


Form# 13-16503-360                                     CERTIFICATE OF ASSIGNMENT                              Rev. June 2019
Mandatory Use
